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                                                                                        United States District Court
                                                                                          Southern District of Texas

                                                                                             ENTERED
                                                                                           October 26, 2023
                                   UNITED STATES DISTRICT COURT
                                                                                          Nathan Ochsner, Clerk
                                    SOUTHERN DISTRICT OF TEXAS
                                        MCALLEN DIVISION


TEXAS BANKERS ASSOCIATION, et al.,                 §
                                                   §
            Plaintiffs,                            §
                                                   §
VS.                                                §   CIVIL ACTION NO. 7:23-CV-00144
                                                   §
CONSUMER FINANCIAL PROTECTION                      §
BUREAU, et al.,                                    §
                                                   §
            Defendants.                            §

ORDER GRANTING INTERVENORS’ MOTIONS FOR PRELIMINARY INJUNCTION

I.         Introduction

           Plaintiffs Texas Bankers Association (TBA), Rio Bank, and American Bankers

Association (ABA) initiated this action for declaratory and injunctive relief against Defendants

Consumer Financial Protection Bureau (Bureau) and Rohit Chopra, in his official capacity as

Director of the Bureau, seeking to set aside the Bureau’s final rule that imposes new small business

lending requirements on covered financial institutions, in light of the Fifth Circuit’s recent decision

vacating another of the Bureau’s rules after finding the agency’s funding structure

unconstitutional. (Dkt. Nos. 1, 12); see Final Rule, Small Business Lending Under the Equal

Credit Opportunity Act, 88 Fed. Reg. 35,150 (effective Aug. 23, 2023); Cmty. Fin. Servs. Ass’n of

Am., Ltd. v. CFPB, 51 F.4th 616 (5th Cir. 2022) (invalidating 2017 Payday Lending Rule), cert.

granted, 143 S. Ct. 978, 215 L. Ed. 2d 104 (2023). Having granted in part and denied in part

Plaintiffs’ motion for preliminary injunction,1 and having then granted unopposed motions by

various other covered financial institutions to intervene,2 the Court now has before it the following



1
     (Dkt. No. 25).
2
     (Dkt. Nos. 34, 38, 50, 66).
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requests for relief: (1) Community Bankers of America (ICBA), Independent Bankers Association

of Texas (IBTA), and Texas First Bank’s (collectively, Community Bank Intervenors) Motion for

Preliminary Injunction (Dkt. No. 44); (2) Credit Union National Association (CUNA),

Cornerstone Credit Union League (Cornerstone), and Rally Credit Union’s (Rally) (collectively,

Credit Union Intervenors) Joinder to Community Bank Intervenors’ Motion (Dkt. No. 45); and (3)

Axle Funding, LLC (Axle) and Equipment Leasing and Finance Association’s (ELFA)

(collectively, ELFA Intervenors) Motion for Preliminary Injunction (Dkt. No. 54). 3 Intervenors

seek the relief requested and obtained by Plaintiffs—a preliminary injunction staying Defendants’

implementation and enforcement of the final rule pending the U.S. Supreme Court’s review of the

Fifth Circuit’s decision in Community Financial Services—as well as the relief sought by Plaintiffs

and denied by the Court, i.e., an injunction that extends nationwide to all financial institutions

covered by the final rule. Upon consideration of the Motions and the parties’ responsive briefing

and evidence,4 in light of the relevant law, the Court will grant the full scope of relief requested

for the following reasons.

II.     Analysis

A.      Whether Preliminary Injunction Should Extend to Intervenors

        With respect to the four requirements to obtain a preliminary injunction, addressed by the

Court in its prior order now incorporated in its entirety herein,5 Defendants concede that

Intervenors share Plaintiffs’ ability to show a likelihood of success on the merits given Community

Financial Services, which binds this Court absent reversal by the Supreme Court. (Dkt. No. 46 at

p. 3; Dkt. No. 60 at p. 4; see Dkt. No. 25 at pp. 8, 12). Defendants contest, though, each set of


3
  The Court also has before it a similar motion filed by the fourth set of parties most recently allowed to
intervene—Farm Credit Council, Texas Farm Credit, and Capital Farm Credit (Farm Credit Intervenors)—
but that motion is not yet ripe for ruling, and in any event, is mooted by the Court’s extension of preliminary
injunctive relief to all covered financial institutions. See (Dkt. Nos. 66, 68).
4
  (Dkt. Nos. 46-48, 60, 61).
5
  (Dkt. No. 25).
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Intervenors’ ability to show a substantial threat of irreparable injury if an injunction does not issue,

taking the position that Intervenors “have not provided specific evidence of compliance costs that

they are required to incur now, as opposed to years down the road.” (Dkt. No. 46 at p. 1; Dkt. No.

60 at p. 1). This argument fails to persuade, for two reasons. First, the Court has already rejected

it, since “the Fifth Circuit has accepted projected compliance costs as constituting irreparable

harm.” (Dkt. No. 25 at p. 14) (citing Texas v. EPA, 829 F.3d 405, 433-44 (5th Cir. 2016)). Second,

each set of Intervenors has provided evidence, by way of sworn declarations, not only of the costs

Intervenors expect to incur in complying with the final rule, but also of compliance costs already

incurred. (Dkt. No. 44, Exhs. 1-3; Dkt. No. 45, Exhs. A-C; Dkt. No. 54, Exhs. A, B). As with

Plaintiffs, such costs are likely unrecoverable and “more than de minimus,” and support a showing

of irreparable harm. See (Dkt. No. 25 at pp. 13-14).

        The final two prongs of the preliminary injunction analysis, which require a balancing of

harms and consideration of the public interest, “merge when the Government is the opposing

party.” (Dkt. No. 25 at p. 9); Nken v. Holder, 556 U.S. 418, 435 (2009). And where, as here, the

irreparable harm prong has already been satisfied, the government as non-movant “would need to

present powerful evidence of harm to its interests to prevent [the movant] from meeting this

requirement.” (Dkt. No. 25 at p. 15); Opulent Life Church v. City of Holly Springs, Miss., 697

F.3d 279, 297 (5th Cir. 2012). In response to Plaintiffs’ original motion, Defendants presented no

such evidence; without more, their argument that greater harm would result from delay in

enforcing the final rule and its intended benefits for small businesses failed to tip the balance in

their favor. (Dkt. No. 25 at p. 15). Defendants now expound upon this argument, asserting that

“copious evidence” detailed in the preamble to the rule “supports the Bureau’s view that the Rule

as well as the statutory requirements it implements will produce significant benefits to small




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businesses, the community, and lenders,”6 and that “[t]he public interest does not favor further

delay to those requirements taking effect.” (Dkt. No. 46 at p. 3; Dkt. No. 60 at p. 3). But again,

precedent binding on this Court has essentially invalidated the rule regardless of its purported

benefits, and the public interest is served, not harmed, “by maintaining our constitutional structure”

pending Supreme Court review. (Dkt. No. 44 at p. 14; Dkt. No. 47 at p. 4; Dkt. No. 54 at p. 14;

Dkt. No. 61 at p. 4); BST Holdings, L.L.C. v. OSHA, 17 F.4th 604, 618 (5th Cir. 2021) (also

observing that “[a]ny interest [an agency] may claim in enforcing an unlawful (and likely

unconstitutional) [regulation] is illegitimate”); see also Louisiana v. Biden, 55 F.4th 1017, 1035

(5th Cir. 2022) (quoting State v. Biden, 10 F.4th 538, 560 (5th Cir. 2021)) (“[T]here is generally

no public interest in the perpetuation of unlawful agency action.”). To the extent Defendants

complain of harm related to delay in effectuating the underlying statute itself, that argument also

fails to persuade given the lack of urgency thus far demonstrated—the rule implements statutory

changes made 13 years earlier, and creates tiered compliance deadlines beginning October 1,

20247—and that the requested stay extends only to the rule itself. (Dkt. No. 44 at pp. 5, 14; Dkt.

No. 47 at pp. 4-5; Dkt. No. 61 at p. 5). Intervenors, like Plaintiffs, have shown their entitlement

to preliminary injunctive relief.

B.      Whether Preliminary Injunction Should Extend Nationwide

        In moving for the relief denied to Plaintiffs—a preliminary injunction covering not only

Plaintiffs and Intervenors, but all covered financial institutions throughout the United States—

Intervenors suggest that changed circumstances and additional considerations warrant a different

result. (Dkt. No. 44 at pp. 15-16; Dkt. No. 47 at pp. 5-6; Dkt. No. 48 at p. 4; Dkt. No. 54 at pp.

14-15; Dkt. No. 61 at pp. 5-6). In denying nationwide relief, the Court utilized the guidance


6
  Multiple lenders, though, have initiated and joined this suit to complain of the burden imposed on them
by the rule, and this prong of the preliminary injunction analysis presupposes a balance of harms. See (Dkt.
No. 61 at pp. 4-5).
7
  See 88 Fed. Reg. at 35,150 (implementing 15 U.S.C. § 1691c-2) (effective July 21, 2010).
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supplied by Louisiana v. Becerra, 20 F.3d 260 (5th Cir. 2021), in which the Fifth Circuit identified

two circumstances that would justify a nationwide injunction (a constitutional command for

uniform laws and concern that patchwork rulings would undermine an injunction limited to certain

jurisdictions) and two of the more generic reasons that would not (the nationwide scope of a

mandate and the generalized need for uniformity, without more). (Dkt. No. 25 at pp. 15-16) (citing

Becerra, 20 F.3d at 264). In the Court’s view, Plaintiffs’ argument that a limited injunction would

result in unequal enforcement of an invalid agency rule and lead to more confusion fell within the

latter. (Dkt. No. 25 at pp. 15-16). But after the intervention of multiple, additional parties and

consideration of the parties’ ensuing briefing on the soundness of that ruling, the Court can now

say with more assurance that the former is at play. Although no constitutional command for

uniformity exists, there exists a statutory command for uniformity with constitutional implications.

As Defendants observe, most laws have some general application, which alone does not justify

nationwide relief. (Dkt. No. 46 at p. 4; Dkt. No. 60 at p. 4). But the Court agrees with Intervenors

that the statute underlying the final rule does more; its very purpose is the equal application of

lending laws to all credit applicants to avoid disparate outcomes, and it presumes uniform

application to all covered financial institutions absent exemption by the Bureau. (Dkt. No. 44 at

pp. 15-16; Dkt. No. 47 at p. 5; Dkt. No. 54 at pp. 14-15); see 15 U.S.C. § 1691c-2(a), (g)(2). To

judicially exempt the parties to this case, but not others, from the Bureau’s final rule both

undermines the statute—what Defendants want to avoid—and leaves non-exempted lenders

subject to the discretion of an agency whose very ability to act is a matter of constitutional concern

pending resolution on a nationwide scale. This is not, as in Becerra, a scenario where many other

entities on equal footing “may well have accepted and even endorsed the…rule,” counseling in

favor of judicial restraint; rather, Plaintiffs and Intervenors represent a wide swath of trade

associations and their members, such that a limited injunction risks omitting those non-member


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and/or smaller financial institutions less able to challenge the rule, and more likely to suffer harm

should they continue to incur compliance costs that prove unnecessary and unrecoverable. (Dkt.

No. 44 at p. 16; Dkt. No. 47 at p. 6; see also Dkt. No. 48 at p. 4; Dkt. No. 54 at p. 15; Dkt. No. 61

at pp. 5-6); Becerra, 20 F.4th at 263.8 To date, patchwork rulings have not occurred—another

district court has granted substantively identical preliminary injunctive relief to various Kentucky-

based plaintiffs9—but the danger of the same and of patchwork enforcement by the Bureau, all

with statutory and constitutional implications, remains. To limit the injunction would be to

undermine the goals of preventing inequality in lending and harm to the constitutional structure

pending U.S. Supreme Court review of the question at issue. Taken as a whole, the circumstances

of this case justify extending preliminary injunctive relief to all financial institutions covered by

the final rule.

C.      Defendants’ Challenge to Broadening Conduct Covered by Injunction

        Defendants raise an additional issue for resolution by the Court, in that they complain that

Intervenors now seek to immediately cease all implementation or enforcement of the final rule,

without limitation. (Dkt. No. 44-4; Dkt. No. 46 at p. 4; Dkt. No. 54-3; Dkt. No. 60 at p. 5).10

According to Defendants, the absence of any such limitation impermissibly broadens the conduct

covered by the Court’s original injunction, since it “would seem to bar the Bureau from, for

example, answering a regulatory inquiry from a covered bank or publishing guidance materials on

its website.” (Dkt. No. 46 at pp. 5-6). Each set of Intervenors responds that they do not seek to

prohibit this conduct; rather, they ask for what the Court granted in its original injunction:

protection from the requirements of the final rule pending the Supreme Court’s decision in


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   Defendants make no effort to argue otherwise.
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   See (Dkt. No. 61 at p. 4); Monticello Banking Co. v. CFPB, 2023 WL 5983829, at *3 (E.D. Ky. Sept. 14,
2023).
10
     The Court’s original injunction ordered Defendants to “immediately cease all implementation or
enforcement of the Final Rule against Plaintiffs and their members.” (Dkt. No. 25 at p. 16) (emphasis
added).
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Community Financial Services, albeit on a nationwide scale. (Dkt. No. 47 at pp. 6-7; Dkt. No. 48

at p. 4; Dkt. No. 61 at p. 6). To dispel any confusion, the Court’s injunction will utilize and amend

the original limiting language by ordering that Defendants cease implementation and enforcement

of the final rule against Plaintiffs and their members, Intervenors and their members, and all

covered financial institutions. Answering an inquiry or publishing guidance materials does not

qualify as conduct taken against any financial institution, and does not fall within the conduct

proscribed.

III.    Conclusion

        For the foregoing reasons, the Court hereby ORDERS that Intervenors’ Motions for

Preliminary Injunction are GRANTED.

        Accordingly, the Court ORDERS that Defendants are preliminarily enjoined from

implementing and enforcing the Final Rule, Small Business Lending Under the Equal Credit

Opportunity Act, 88 Fed. Reg. 35,150 (effective Aug. 23, 2023), against Plaintiffs and their

members, Intervenors and their members, and all covered financial institutions pending the

Supreme Court’s reversal of Cmty. Fin. Servs. Ass’n of Am., Ltd. v. CFPB, 51 F.4th 616 (5th Cir.

2022), cert. granted, 143 S. Ct. 978, 215 L. Ed. 2d 104 (2023), a trial on the merits of this action,

or until further order of this Court. Defendants shall immediately cease all implementation or

enforcement of the final rule against Plaintiffs and their members, Intervenors and their members,

and all covered financial institutions.

        The Court further ORDERS that all deadlines for compliance with the requirements of the

final rule are stayed for Plaintiffs and their members, Intervenors and their members, and all

covered financial institutions until after the Supreme Court’s final decision in Community

Financial Services. In the event of a reversal in that case, Defendants are ORDERED to extend

Plaintiffs and their members, Intervenors and their members, and all covered financial institutions’


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deadlines for compliance with the requirements of the final rule to compensate for the period

stayed.

          The Court also ORDERS that no security bond shall be required under Federal Rule of

Civil Procedure 65(c).

           SO ORDERED October 26, 2023, at McAllen, Texas.


                                                     ______________________________
                                                     Randy Crane
                                                     Chief United States District Judge




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